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                                                                 February 24, 2025

BY ECF
The Honorable J. Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007

               Re:     Doe v. Combs, et. al., Case No. 24-cv-07774 (JPO)

Dear Judge Oetken:

       We write jointly on behalf of the Plaintiff in this action and defendants Sean Combs,
Daddy’s House Recordings Inc., CEOpCo, LLC d/b/a Combs Global f/k/a Combs
Enterprises, LLC, Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings,
Inc., Bad Boy Books Holdings, Inc., Bad Boy Entertainment LLC, and Bad Boy
Productions LLC (the “Combs Defendants”) concerning the motion to dismiss filed by the
Combs Defendants on February 11, 2025 (the “Motion to Dismiss”). See ECF #56.

        Under Local Civil Rule 6.1, the default deadline for opposition to the Motion to
Dismiss is February 28, 2025, and the default deadline for a reply is March 7, 2025. The
undersigned parties respectfully request an extension of these default deadlines to March
28, 2025 for Plaintiff’s opposition and April 30, 2025 for the Combs Defendants’ reply.
The parties request this extension to accommodate unusually busy work schedules within
this timeframe, attributable in part to multiple other recent lawsuits in this District and the
New York state courts involving the same Combs Defendants and counsel for both sides.

       No prior request for this relief has been made.

                                                       Respectfully submitted,



 /s/ Mark Cuccaro                                     /s/ Antigone Curis
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